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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Richmond Division
KYSS BURTON, BY HER MOTHER,
SAKIA HALL AS NEXT FRIEND AND
SAKIA HALL,
Plaintiff,
v. . Case No. 3:11-cv-00065-JRS
HAROLD FORD, —
Defendant.

NOTICE OF HEARING

PLEASE TAKE NOTICE that on Friday, July 8, 2011, commencing at 9:00 a.m., or as
soon thereafter as counsel may be heard, defendant Harold Ford will bring on for hearing his

Motion for Summary Judgment.

HAROLD FORD

By Counsel

s/

David P. Corrigan

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Attorney for Harold Ford

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- CERTIFICATE

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I hereby certify that on the AY Wsny of June, 2011, I electronically filed the foregoing
with the Clerk of the Court using the CM/ECF system, which will send notification of such filing
to the following:

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s/

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